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 1                                                             District Judge Jamal N. Whitehead

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 3
                              UNITED STATES DISTRICT COURT FOR THE
 4                              WESTERN DISTRICT OF WASHINGTON
                                          AT SEATTLE
 5

 6
     PLAINTIFF PACITO; PLAINTIFF ESTHER;               CASE NO. 2:25-cv-00255
 7   PLAINTIFF JOSEPHINE; PLAINTIFF
                                                       MOTION TO ISSUE PRELIMINARY
     SARA; PLAINTIFF ALYAS; PLAINTIFF                  INJUNCTION BOND PURSUANT TO FED.
 8   MARCOS; PLAINTIFF AHMED;                          R. CIV. P. 65(c)
     PLAINTIFF RACHEL; PLAINTIFF ALI;
 9   HIAS, INC.; CHURCH WORLD SERVICE,                 NOTE ON MOTION CALENDAR:
     INC.; and LUTHERAN COMMUNITY                      APRIL 1, 2025
10   SERVICES NORTHWEST,

11                     Plaintiffs,

12
             v.
13   DONALD J. TRUMP, in his official capacity
     as President of the United States, MARCO
14   RUBIO, in his official capacity as Secretary of
     State, KRISTI NOEM, in her official capacity
15   as Secretary of Homeland Security;
     DOROTHY A. FINK, in her official capacity
16   as Acting Secretary of Health and Human
     Services,
17
                      Defendants.
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24 Motion for Bond                                           U.S. Department of Justice
                                                             Civil Division, Office of Immigration Litigation
                                                             P.O. Box 878, Ben Franklin Station
     No. 2:25-cv-00255-JNW                                   Washington, DC 20044
                                                             (202) 305-7234
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 1
                                           INTRODUCTION
 2          Defendants hereby respectfully move the Court for an order, directing Plaintiffs to
 3 post a bond, so that Defendants may be compensated if it is later determined to have been

 4 wrongfully enjoined.

 5                                            ARGUMENT
            Pursuant to Federal Rule of Civil Procedure 65(c), “[t]he court may issue a preliminary
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     injunction or a temporary restraining order only if the movant gives security in an amount that
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     the court considers proper to pay the costs and damages sustained by any party found to have
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     been wrongfully enjoined or restrained.” Fed. R. Civ. P. 65(c) (emphasis added). A bond
 9 posted for a preliminary injunction is viewed as a contract in which “the court and plaintiff

10 ‘agree’ to the bond amount as the ‘price’ of a wrongful injunction.” The Continuum Co., Inc.

11 v. Incepts, Inc., 873 F.2d 801, 803 (5th Cir. 1989). As a result of the posting of the bond, a
     presumption arises that damages will be award from those posted bond amounts in order for
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     defendants “to receive compensation for their damages in cases where it is later determined
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     that a party was wrongfully enjoined.” Nintendo of America, Inc. v. Lewis Galoob Toys, Inc.,
14
     16 F.3d 1032, 1036 (9th Cir. 1994).
15
            Here, Plaintiffs have sought an injunction commanding Defendants to disburse funds
16 pursuant to cooperative agreements which have terminated pursuant to the express terms of

17 the agreements. See ECF Nos. 57 at 8, 61 at 7. As set forth in Defendants’ Opposition to

18 Plaintiffs’ Motion for Preliminary Injunction on Supplemental Pleading, this Court lacks
     jurisdiction over these claims, ECF No. 61 at 1-4, and any order requiring Defendants to
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     disburse funds notwithstanding termination of the cooperative agreements will necessarily
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     require the disbursement of significant taxpayer funds. As such, Defendants respectfully
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     request that to the extent the Court grants relief to Plaintiffs, that the Court require Plaintiffs
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     to post security for any taxpayer funds distributed during the pendency of the Court’s Order,
 2 in the event it is later determined that Defendants were wrongfully enjoined. The risk of harm

 3 here is not insubstantial as Congress has appropriated nearly $4 billion dollars to refugee

 4 funding. See Div. F, Title III of P.L. 118-47 (138 Stat. 744 (providing $3,928,000,000 for

 5 “necessary expenses not otherwise provide for…and other activities to meet refugee and
     migration needs…”). This underscores the need to limit relief to named Plaintiffs, such that
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     Plaintiffs would only need to provide a security bond for the specific complained about
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     cooperative agreements for which they seek specific performance. See ECF Nos. 58-2 (“These
 8
     four cooperative agreements provide HIAS with $36,943,648 in revenue.”), 58-3 (“These five
 9 cooperative agreements provide CWS with $98,128,461 in revenue, approximately 35% of

10 CWS’s annual revenue.”). A bond is important given that Plaintiffs have asserted that their

11 continuing existence is threatened. ECF No. 57, at 57 (“As for the organizational Plaintiffs,
     their very existence is threatened—and they operate in every circuit.”).
12
                                             CONCLUSION
13
              The Court should require Plaintiffs to post security as required under Fed. R. Civ. P.
14
     56(c).
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16 DATED this 11th day of March, 2025.

17
                                                 Respectfully submitted,
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                                                 YAAKOV M. ROTH
19                                               Acting Assistant Attorney General
                                                 Civil Division
20
                                                 DREW ENSIGN
21                                               Deputy Assistant Attorney General

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23
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 1
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 2                                      Acting Director

 3                                      /s/ Nancy K. Canter
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10                                      Attorneys for Defendants

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